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                           EXHIBIT 8
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                                                                                    ,v

                                                              °^0UTttC^
 Alan Wilson
ATTORNEY GENERAL




                                                         January 1 1, 2021


     The Honorable Daniel E. Shearouse
    Clerk, South Carolina Supreme Court
    P.O. Box 11330
    Columbia, South Carolina              2921 1


             Re:       Bvcid Keith Sismon v. Bryan P. Stirling, Commissioner,
                       South Carolina Department of Corrections, el a/.. 20-6166


    Dear Mr. Shearouse:


             Today, the Supreme Court of the United States issued an Order List, in which the Court
    denied Mr. Sigmon's Petition for Writ of Certiorari. (See Attached Order List, p. 11). This
    concludes Mr. Sigmon's federal habeas corpus proceedings. Mr. Sigmon does not currently have
    any pending action challenging either his convictions or sentence. The State is not aware of any
    stay in place to prevent the issuance of the execution notice since the District Court stay, issued
    August 21, 2013 pursuant to 28 U.S.C. § 2251 (a)(1), only continued while the habeas corpus
    proceeding was pending.


             By copy of this letter I am serving opposing counsel, Joshua S. Kendrick, Esquire, and
    Megan E. Barnes, Esquire, along with Barton J. Vincent, Esquire, counsel for the South Carolina
    Department of Corrections, with this letter and the Supreme Court's Order List.


                                                                 Sincerely,



                                                                 Melody J. Brown
                                                                 Senior Assistant Deputy Attorney General
    MJB/abb
    Enclosure


    cc:      Joshua S. Kendrick, Esquire (w/copy of SCOTUS Order);
             Megan E. Barnes, Esquire (w/copy of SCOTUS Order);
             Salley W. Elliott, Esquire (w/copy of SCOTUS Order);
             Barton J. Vincent, Esquire (w/copy of SCOTUS Order);
             The Honorable W. Walter Wilkins, Solicitor, Seventh
                   Judicial Circuit (w/copy of SCOTUS Order);
             Victim Advocacy Division (w/copy of SCOTUS Order).



Rembert C. Dennis Building   •   Post Office Box 11549    » Columbia, SC 2921 1-1549     . Telephone 803-734-3970   . Facsimile S03-253-6283
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(ORDER LIST:   592 U.S.)



                                  MONDAY,    JANUARY 11,        2021




                           CERTIORARI — SUMMARY DISPOSITIONS

20-234         IMMIGRATION AND CUSTOMS,           ET AL.   V.    PADILLA, YOLANY,   ET AL.

                    The petition for a writ of certiorari               is granted.    The

               judgment is vacated,         and the case is remanded to the United

               States Court of Appeals for the Ninth Circuit for further

               consideration in light of Department of Homeland Security

               v.   Thuraissigiam ,     591 U.    S.        (2020).

20-306    )    OLAN,    ROBERT,   ET AL.    V.   UNITED STATES
          )
          )         The petition for a writ of certiorari               is granted.    The
          )
          )    judgment is vacated, and the case is remanded to the United
          )
          )    States Court of Appeals for the Second Circuit for further
          )
          )    consideration in light of Kelly v.                United States,   590 U. S.
          )
          )    (2020) .
          )
20-5649   )    BLASZCZAK,     DAVID V.     UNITED STATES

                    The motion of petitioner for leave to proceed in forma

               pauperis and the petition for a writ of certiorari are granted.

               The judgment is vacated, and the case is remanded to the United

               States Court of Appeals for the Second Circuit for further

               consideration in light of Kelly v.                United States,   590 U.   S.

               (2020) .

20-5123        HAYES,     CARDELL A. V.     LOUISIANA

20-5363        JONES,     REGINALD V.    LOUISIANA

                    The motions of petitioners for leave to proceed in forma

               pauperis and the petitions for writs of certiorari are granted.




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              The judgments are vacated,             and the cases are remanded to the

              Court of Appeal of Louisiana,             Fourth Circuit for further

              consideration in light of Ramos v.                Louisiana,       590 U.    S.

              (2020) .

                                ORDERS IN PENDING CASES

20A97         VINKOV,     SERGEI V.    USDC CD CA

                  The application for stay addressed to Justice Thomas and

              referred to the Court is denied.

20M46         STEWART,     CHARLIE L.    V.    LUMPKIN,      DIR.,    TX DCJ ,   ET AL.

                  The motion to direct the Clerk to file a petition for a writ

              of certiorari     out of time is denied.

19-1434   )   UNITED STATES V.        ARTHREX,    INC.,      ET AL.
          )
19-1452   )   SMITH & NEPHEW,        INC.,    ET AL.   V.    ARTHREX,    INC.,    ET AL.
          )
19-1458   )   ARTHREX,     INC. V.    SMITH & NEPHEW,         INC.,    ET AL.

                  The motion of the Acting Solicitor General for divided

              argument is granted.

19-1442   )   CARR,    WILLIE E.,     ET AL. V.      SAUL, ANDREW M.
          )
20-105    )   DAVIS,     JOHN J.,    ET AL. V.    SAUL, ANDREW M.

                  The motions of petitioners to dispense with printing the

              joint appendix is granted.

20-37     )   AZAR,    SEC. OF H&HS,     ET AL. V.      GRESHAM,       CHARLES,    ET AL.
          )
20-38     )   ARKANSAS V. GRESHAM, CHARLES,             ET AL.

                  The motion of the Acting Solicitor General to dispense with

              printing the joint appendix is granted.

20-402        RICHARDSON, CHAD,        ET UX. V. OMAHA SCHOOL DISTRICT

                  The Acting Solicitor General is invited to file a brief in

              this case expressing the views of the United States.




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20-512    )   NCAA V. ALSTON,         SHAWNE,     ET AL.
          )
20-520    )   AM. ATHLETIC CONFERENCE,              ET AL.    V.   ALSTON,     SHAWNE,       ET AL.


                  The motion of petitioners to dispense with printing the

              joint appendix is granted.

20-639        CALVARY CHAPEL DAYTON VALLEY V.                 SISOLAK,       GOV.   OF NV,     ET AL.


                  The respondents are directed to file a response to the

              petition on or before noon, Tuesday,                    January 19,       2021.

              Petitioner may file a reply brief on or before noon, Thursday,

              January 21,       2021.


20-799        WOOD,    L.    LIN V.    RAFFENSPERGER,        BRAD,    ET AL.


20-809        WARD,    KELLI V.       JACKSON,    CONSTANCE,        ET AL.


20-810        KELLY, MIKE,       ET AL.      V.   PENNSYLVANIA,       ET AL.


20-815        KING, TIMOTHY,          ET AL. V. WHITMER,           GOV. OF MI,       ET AL.

                  The motions of petitioners to expedite consideration of the

              petitions for writs of certiorari                    are denied.

20-816        IN RE CORECO J.          PEARSON,     ET AL.


                  The motion of petitioners to expedite consideration of the

              petition for a writ of mandamus is denied.

20-845        DONALD J. TRUMP FOR PRESIDENT V.                 BOOCKVAR,       SEC. OF PA        ET AL.


20-882        TRUMP,    DONALD J . ,        ET AL. V.   BIDEN,      JOSEPH R. ,      ET AL.


20-883        TRUMP,    DONALD J. V. WI ELECTIONS COMMISSION,                       ET AL.

                  The motions of petitioners to expedite consideration of the

              petitions for writs of certiorari are denied.

20-5566       WILSON,       JOHN J.    V.    FLORIDA,   ET AL.

20-5638       CATERBONE,       STANLEY J. V.        LANCASTER COUNTY PRISON,             ET AL.

20-5659       ROBLES,       GABRIEL M. V. WILKIE,          SEC. OF VA

                  The motions of petitioners for reconsideration of orders

              denying leave to proceed in forma pauperis are denied.



                                                    3
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20-6093     ABUTALEB,     HANY S.      V.    ABUTALEB,    MONA M.


20-6152     LUQUIN-CORONEL ,      REYNA E. V.          ROSEN, ACTING ATT'Y GEN.

20-6234     MOYNIHAN ,    KAREN V.      WEST CHESTER AREA SCHOOL DIST.


20-6283     BROWNLEE,     ROBERT V.         CAPOZZA,   SUPT. ,    FAYETTE

                The motions of petitioners for leave to proceed in forma

            pauperis are denied.              Petitioners are allowed until            February 1,

            2021, within which to pay the docketing fees required by Rule

            38(a).

                                     CERTIORARI DENIED


19-1143     FMC CORPORATION V.          SHOSHONE-BANNOCK TRIBES

19-1363     ROBLES, CARLOS E. V.             ROSEN, ACTING ATT'Y GEN.

19-1441     AUSTIN, TX V.     PAXTON, ATT'Y GEN. OF TX,                  ET AL.

19-1476     VANTAGE ENERGY SERVICES,             ET AL.    V.    EEOC


19-8650     CAMPBELL,     SEBASTIAN A. V.         MARYLAND

19-8661     SANTOS,    JUSTO 3. V.          UNITED STATES

19-8668     WHITESIDE,     LEMUEL V. ARKANSAS

19-8799     30HNMAN,     3 AMES V.     UNITED STATES

19-8838     MEDINA,    MAGDALENO V.          UNITED STATES


19-8898     EFTHIMIATOS , ANGELO P. V.            UNITED STATES

20-47       LEBAMOFF ENTERPRISES,             ET AL.   V. WHITMER,        GRETCHEN,   ET AL.


20-132      MOODSTERS CO. V. WALT DISNEY CO.,                   ET AL.


20-139      IWAI,    BRYANT K.    V.    UNITED STATES

20-150      THERMOLIFE INTERNATIONAL LLC V.                IANCU, ANDREI

20-202      MASSIE,    ROBERT V.       MENA,    BASILEA

20-216      BOSE,    PRIANKA V.      BEA,     ROBERTO,    ET AL.

20-217      BALTER,    RICHARD V.       UNITED STATES

20-239      SOLORZANO-GUERRERO, 3UAN C. V. ROSEN, ACTING ATT'Y GEN.

20-244      FAYED,    3 AMES M. V.      CALIFORNIA



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20-250      POOLE,     MARK A. V.         FLORIDA

20-256      JORDAN,     ZAVIAN M.         V.    UNITED STATES

20-272      MARYLAND,        ET AL. V.         ROGERS,      JIMMIE

20-293      BRISTOL-MYERS SQUIBB CO.,                   ET AL. V.         NEW MEXICO,       EX REL.    BALDERAS

20-301      HENNIS,     TIMOTHY B. V.            UNITED STATES

20-304      WORLD PROGRAMMING LTD.                V.    SAS INSTITUTE,            INC.


20-332      HURCHALLA,       MAGGY V.          LAKE POINT PHASE I,              LLC,     ET AL.

20-333      BOZEMAN FIN.          LLC V.       FED.    RESERVE BANK OF ATL,               ET AL.

20-351      CAREY      NORRIS P.       V. THROWE,           JOANNE,       ET AL.

20-360      SHINN,     DIR., AZ DOC,            ET AL.      V.    JENSEN,      SHAWN,     ET AL.

20-361      COURTNEY,        JAMES,    ET AL. V.           DANNER,       DAVID,    ET AL.

20-365      JACK DANIEL'S PROPERTIES,                   INC.      V. VIP PRODUCTS LLC

20-370      BUGARENKO,        KONSTANTIN V. ROSEN, ACTING ATT'Y GEN.

20-378      NORTH CYPRESS MEDICAL,                ET AL.         V.   CIGNA HEALTHCARE,           ET AL.

20-407      MASSENBURG,        NANCY V.         ITS,    INC.,         ET AL.

20-410      NTCH,     INC.   V.    FCC,    ET AL.


20-423      GARROTT,     LaQUANDA G. V. UNITED STATES

20-426      HUNTRESS, WILLIAM L.,                ET AL. V.            UNITED STATES

20-441      MINNESOTA SANDS,           LLC V.         CTY. OF WINONA, MN

20-456      ELDER,     MICHAEL V.         UNITED STATES

20-457      MARKETGRAPHICS ,          INC V.      BERGE,         DAVID P.

20-464      ROSEMOND,        JAMES J. V.         UNITED STATES

20-471      Y.   W.   V. AUFIERO,         PATRICIA,         ET AL.

20-488      BHARGAVA,        SANGEETA V.         MORTGAGE ELEC.            SYS.

20-490      FREEMAN,     DAMIEN V. WAINWRIGHT, WARDEN

20-491      HERNANDEZ,        SANDY P. V. TEXAS

20-495      STANLEY, CHAREE V.             EXPRESS JET AIRLINES,                INC.

20-496      WEINBERG,        LYNN V.      BORT,       DEBORAH



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20-498      GARCIA,    SONIA,    ET VIR V.       BLEVINS, WESLEY,         ET AL.

20-502      MASCARA,    KEN,    ET AL. V.    BRYANT, VIOLA

20-503      KURBANOV,    TOFIG V.    UMG RECORDINGS,            INC.,    ET AL.

20-506      VINKOV,    SERGEI V.    SMITH,       MARK,      ET AL.

20-509      MONALIM,    JONNAVEN 30,       ET UX.      V.    HAWAIIUSA FEDERAL CREDIT UNION

20-511      GEORGE,    CHRIS V.    VIRGIN ISLANDS

20-515      PHILADELPHIA INDEMNITY INSURANCE V.                  GATEWAY HOSPITALITY,        ET AL.

20-516      McCOY,    D'ANN S. V.    OUEDRAOGO ,         BOUREIMA

20-522      PORTER,    XAVIER D.    V.   UNITED STATES

20-530      BURBANK,    HAROLD H. V.       CHIEF DISCIPLINARY COUNSEL

20-532      HUANG,    XIAOHUA V.    HUAWEI TECHNOLOGY CO.

20-538      RENTBERRY,    INC.,    ET AL.    V.      SEATTLE, WA

20-540      HEGLAND,    DAVID,    ET AL.    V.    HANNA,      NICOLA T.

20-541      MACDONALD,    JAMES V.       KEMPINSKY          LOUIS E. ,   ET AL.


20-545      TERRELL,    BARBARA D. V.       RENNER,         JOHN L.

20-556      SPECIAL SERVICES BUREAU,             INC. V.      CIRCUIT COURT OF WV

20-557      AGUIRRE-CHAVEZ,       ENRIQUE V. ROSEN, ACTING ATT'Y GEN.

20-560      SULLIVAN,    BRIAN,    ET AL. V.         NASSAU CTY.       INTERIM FIN.      ET AL.


20-562      YEARWOOD,    JOHN,    ET AL.    V.    DEPT.      OF INTERIOR,       ET AL.

20-571      WEISSHAUS, YOEL V.       PORT AUTH. OF NY AND NJ

20-582      KIFAYATUTHELEZI ,      SHADRECK V.         SC DOC,       ET AL.

20-583      DAI LEY, MITZI E. V. ATT'Y GRIEVANCE COMM'N OF MD

20-588      WAINWRIGHT, WARDEN V. SEXTON,                JASON S.

20-590      PANKOE,    RYAN V.    PANKOE,    LAURA

20-592      HALLMARK CARE SERV. , ET AL. V. SUPERIOR COURT OF WA, ET AL.

20-593      HALLMARK CARE SERV., ET AL. V. SUPERIOR COURT OF WA,                         ET AL.

20-594      BERRY,    RICHARD S. V.      STATE BAR OF AZ

20-596      SCOTT,    LEROY E. V.    ST.    PETERSBURG,         FL,    ET AL.



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20-597      JEFFERY,      WISDOM V.          BROOKS,      WARDEN

20-598      KRATZ,      JEFFREY F.        V.    NATIONSTAR MORTGAGE,            LLC

20-600      SEVY,      ANTHONY V.       BARACH,       PHILIP

20-607      DREVALEVA,      TATYANA E. V. ALAMEDA HEALTH SYSTEM

20-610      HOWLAND,      LINDA L.        V.    KELLY,      MICHAEL,    ET AL.

20-611      DOYLE,      ROBERT J .      V.     VIGILANTE,      JACQUELINE M.

20-614      KERR,      THOMAS D.     V.      KERR,    HEIDI L.


20-616      DURR,      STEPHEN V.       DEPT.     OF ARMY,      ET AL.

20-617      CALIFORNIA VIRTUAL ACADEMIES V.                     CA PUB.       EMPLOY.    RELATIONS BD.

20-619      R.   S.,    ET AL. V.       BD. OF ED.          SHENENDEHOWA,       ET AL.

20-620      WILLIAMS, ANTHONY D.,                ET AL. V.      CIR

20-623      GURVEY,      AMY R.    V.     COWAN,      LIEBOWITZ & LATMAN,             ET AL

20-624      GOLDEN,      LARRY V. APPLE INC.

20-625      FINDLER,      JOSEPH V. WRAY              DIR.,    FBI,    ET AL.

20-627      E.   H. V.    FL DEPT.        OF AGRICULTURE

20-631      HOLOGIC,      INC.,    ET AL. V. MINERVA SURGICAL,                   INC.

20-632      FYK,    JASON V.      FACEBOOK,          INC.

20-635      SOO LINE RAILROAD CO. V. CONSOLIDATED RAIL CORP.,                                 ET AL.

20-640      WELSH GOVERNMENT V.                PABLO STAR LTD.,         ET AL.

20-644      PENDERGRASS, TERRENCE V.                  UNITED STATES

20-646      BAGGOTT,      MICHAEL T. V.           FLORIDA

20-647      AZALA, RACHID V. ROSEN, ACTING ATT'Y GEN.

20-650      STADTWERKE FRANKFURT V. RWE TRADING AMERICAS INC.

20-651      COOK CHILDREN'S MEDICAL CENTER V. T.                        L.,    ET AL.

20-652      GEORGIOU , GEORGE V.               UNITED STATES

20-653      HAMILTON,      HENRY V.          HAYTI, MO,       ET AL.

20-654      RIPA, ANTHONY J. V. STONY BROOK UNIVERSITY

20-655      SUN, XIU J. V.         LAWRENCE,          R. CRAIG,       ET AL.



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20-656      KINGHORN,    ROBERT,     ET AL.       V.    UNITED STATES


20-663      CULPEPPER,    PETER R.        V.    PROVECTUS BIOPHARMACEUTICALS

20-664      JOUKOV,    ARTEM M. V.        OFFICE OF THE STATE ATTORNEY


20-670      DILLARD,    JILL,     ET AL. V.       O'KELLEY,      KATHY,    ET AL.

20-673      FRATERNAL ORDER OF POLICE V.                 CHICAGO,   IL

20-675      LONE STAR SILICON INNOVATIONS V.                   IANCU,    ANDREI


20-680      LODER,    LEE W. V.     ICEMAKERS,          INC.

20-681      LARKIN,    DANIEL E.,        ET UX.    V.    CIR

20-682      KOLODZIEJCZYK, TOMASZ V.              ROSEN, ACTING ATT'Y GEN.

20-684      TAGGER,    BENJAMIN V.        STRAUSS GROUP LTD.


20-686      SHOCK,    MICHAEL V.     ARKANSAS


20-687      ALLEN,    WALTER L.     V.    UNITED STATES

20-689      FOSTER,    MICHAEL L.        V.    UNITED STATES

20-692      WEBSTER,    ROSEMARY,        ET AL.    V.    FRESENIUS MEDICAL CARE HOLDINGS


20-693      FRIDMAN,    MIKHAIL,     ET AL. V.          ORBIS BUSINESS,        ET AL.

20-698      HEADMAN,    ALAN V.     HANSEN,       ROYAL I.,      ET AL.

20-703      KINNEY,    WILLIAM,     ET AL. V.          URBAN HOUSING DEVELOPMENT


20-705      J AYE,   CHRIS V.     UNITED STATES


20-710      GROVE,    JOHN V.     GROOME,       STEPHEN A.,      ET AL.


20-713      DE PAULINO,    ROSA V. V.           NYC DEPT. OF EDUCATION,           ET AL.

20-715      HERSI,    JIBRIL A. V. SHELDON, WARDEN

20-721      GARDING,    KATIE V.     MONTANA

20-729      MITJANS,    JUAN C. V.        EGI-VSR,       LLC

20-731      WINFIELD,    PAUL V.     U.S.       PROBATION SERV. ,        ET AL.

20-736      FRASCH,    ADAM V.     FLORIDA

20-741      ANDERSON, TACARA V. VAZQUEZ,                 JONATHAN

20-747      GARY,    PETER F. ,    ET AL. V.       JTC HOLDINGS,         LLC

20-751      KRAPACS, ASHLEY A. V.              FLORIDA BAR



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20-754        VON WEINGARTEN,           ALBERT V.       CHESTER,    LONNIE


20-761        CAMPBELL,     AUSTIN J.          V.   MISSOURI


20-774        PARISI ,    GEORGIANNA V.             DAYTON BAR ASSOCIATION,       ET AL.

20-778        GROSE,     ANTHONY T.       V.    MNUCHIN,     SEC.   OF TREASURY


20-780        AGUILLARD,        JOE W.    V.    LOUISIANA COLLEGE


20-788        VEASY,     WILBUR S.,       ET AL.       V.   JIM FOGLEMAN LODGE #50

20-5064   )   BROWN,     TONY V.    UNITED STATES
          )
20-5074   )   BANKS,     III,    ROBERT V.          UNITED STATES

20-5090       THOMAS,     RONALD L. V.          UNITED STATES

20-5184       WILLIAMS,     RICHARD B. V.             UNITED STATES

20-5202       COLLINS,     JEROME V.       UNITED STATES

20-5278       WHITEHEAD,        MELVIN V.       UNITED STATES

20-5285       JONES, MELVIN L. V.              UNITED STATES

20-5308       HORTON, TAMMY V.           METHODIST UNIV.


20-5341       BECERRA,     ERIK V.       UNITED STATES


20-5342       AVILA,     RIGOBERTO V.          TEXAS


20-5355       COX,    EDDIE D.     V.    UNITED STATES


20-5416       CURE,    ROOSEVELT V.        FLORIDA

20-5417       ROBINSON,     RASHEED L. V.             UNITED STATES

20-5485       MOSS,    MAURICE V.        FLORIDA

20-5486       MILES,     SPENCER E. V.          FLORIDA

20-5517       GARDNER,     SCOTTY R. V. ARKANSAS

20-5537       ALEXANDER,        ANDERSON V.          UNITED STATES

20-5539       RUMZIS,     GINGER G. V.          SAUL, ANDREW M.

20-5578       WALKER,     STEVEN G. V.          UNITED STATES

20-5639       CAIN, TJ V.        UNITED STATES

20-5746       FINNESY,     BRANDON T. V.             UNITED STATES

20-5775       ANGELES,     NATALIE V.          UNITED STATES



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20-5784     JEFFRIES,     CEDRIC V.       OHIO

20-5801     ROGERS,     JAMES V.    FLORIDA

20-5828     CARTER,     RODERICK A.       V.       CPC LOGISTICS,          INC.,    ET AL.

20-5840     MILLER,     JAMES R.    V.    UNITED STATES

20-5874     LARD,    JERRY V.    ARKANSAS


20-5954     Mcdonald,     meryl s.       v.    Florida

20-5996     HOWARD,     JAMAAL V.       LUMPKIN,          DIR.,   TX DCJ

20-6014     VICK     JASPER L.     V.    BERNARD,          CLEMENT F. ,      ET AL.

20-6017     GODFREY,    TRACEY V.        GUYER, WARDEN

20-6019     GIVENS,     GREG P. V.       YATES,       CLYDE,       ET AL.

20-6021     ALLEN, WILLIAM V.           BATTS,       CANDICE,       ET AL.

20-6025     McMANUS ,    STEVEN V. VANN,             SUPT. ,      ALTONA

20-6026     NEWKIRK,     KENNETH H. V.             KISER,    WARDEN

20-6028     PEDRO,    CARMENCITA M.           V.    CITY FITNESS LLC,          ET AL.

20-6035     WILLIAMS,     RANDY V.       SC WORKERS            COMPENSATION,         ET AL.


20-6036     WASHINGTON, TORREY V.              CLARKE,       DIR.,    VA DOC

20-6039     McBRIDE,     EARL V.    LUMPKIN,          DIR., TX DCJ

20-6040     BULLOCK,     CHARLIE B.       V.       CLARKE,     DIR., VA DOC

20-6053     RIECHMANN,     DIETER V.          FL DOC,       ET AL.

20-6060     SMILEY,     BENJAMIN D. V.             FLORIDA

20-6063     SAMEER,     MADHU V.    RIGHT MOVE 4 U,                ET AL.

20-6072     MARAGLINO, DOROTHY G. V.                 ESPINOSA, WARDEN,             ET AL.

20-6077     PINNEY,     JOHNATHAN V.          ILLINOIS,        ET AL.

20-6080     POSEY,    DAVID R. V.        FLORIDA

20-6081     ALBERT-SHERIDAN,        LENORE L. V. STATE BAR OF CA,                      ET AL.

20-6096     BROWN, DIEUSEUL V. NICKLAUS, WARDEN

20-6097     MARTINEZ,     FRANCISCO J. V. GONZALEZ, ADOLFO




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20-6099   )   MOORE,    MALCOLM V.    UNITED STATES
          )
20-6427   )   WILSON,    MARQUIS V.       UNITED STATES

20-6107       MAPLES,    LARRY M. V.       LUMPKIN,      DIR.,    TX DC J

20-6111       MOORE,    DOROTHY V.    BD.    OF REVIEW,       ET AL.

20-6113       WOGENSTAHL,     JEFFREY V.      SHOOP, WARDEN

20-6115       TAYLOR,    WARREN S.    V. VIRGINIA

20-6120       TIPPINS,    JOHNNY V.       NWI-1,    INC,   ET AL.

20-6125       JONES,    EDWARD V. TRAYLOR, WILLIAM,               ET AL.

20-6126       JONES,    EDWARD V.    EDWARD,       CANDACE,      ET AL.

20-6127       TART,    JERMAINE A.    V. VIGUS,         JAMESE,    ET AL.

20-6131       SMITH,    DEANDRE M.    V. WISCONSIN

20-6132       COFFEE,    MOSE B. V. WISCONSIN

20-6136       BARNABY,    OWEN W. V. WITKOWSKI,            BRET,    ET AL.

20-6139       ALVARADO,    PEDRO V.       INCH,    SEC.,   FL DOC

20-6144       KUNTZ,    DAVID A. V.       CALIFORNIA

20-6158       BROCKINGTON ,   CLARA L. V.          SC DEPT.      OF SOC.     SERV.,    ET AL.

20-6159       BRUCE,    NELSON L.    V.    PENTAGON FED.         CREDIT UNION


20-6160       BLANKUMSEE, AZANIAH V. WEST,              WARDEN,     ET AL.

20-6166       SIGMON,    BRAD K. V.       STIRLING,      COMM'R,    SC DOC,     ET AL.

20-6174       CHILDS, MARJORY V. WESTERN TIDEWATER COM.                      SERV.    BD.

20-6175       WALKER,    RICO V.    LAUGHLIN,       WARDEN

20-6176       WEATHERS,    BRANDON J. V.          FRAKES, DIR., NE DOC

20-6177       DAVIS,    JOHN L. V. GOODYEAR POLICE DEPT.,                   ET AL.

20-6181       SHAREEF,    HASAN V. MOORE,          CAPTAIN,      ET AL.

20-6187       JACKSON,    ROBIN E. V. COUNTY OF SACRAMENTO,                   ET AL.

20-6194       VODICKA,    BRIAN E. V. TOBOLOWSKY, MICHAEL B.,                   ET AL.

20-6202       WOOTEN,    JIMMY D. V. ARKANSAS

20-6203       RACHEL 0. V. AK DEPT. OF HEALTH



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20-6205     CARAFFA,    ALFRED E.        V.    USDC AZ


20-6206     JOHNSON,    TRAVIS V.        ILLINOIS


20-6207     COOPER,    STEVEN V.        BAY COUNTY,          FL,    ET AL.


20-6208     JACKSON,    IRA L. V.        INCH,       SEC.,    FL DOC,      ET AL.

20-6219     LYNCH,    SASCHA V.     CHAO, ALLEN,             ET AL.

20-6222     WHITE,    BRENDA L.     V.       YANG ACUPUNCTURE,            ET AL.

20-6223     WHITE,    BRENDA L.     V.       TAVEL


20-6224     WHITE,    BRENDA L.     V.       ELITE BEVERAGES

20-6228     LE,    HELEN V.   DWYER,         MOLLY,       ET AL.


20-6229     JOHNSON,    JERRY E.        V.    McREYNOLDS ,         ERIN


20-6232     PETERSON,    BRIAN D.        V.    REWERTS,       WARDEN


20-6233     MOTE,    KRISHNA V.     MURTIN,          JAMES W. ,      ET AL.


20-6235     MONTANO,    MARIO V.        COURT OF APPEALS OF MI

20-6239     MOHAMMED,    ABDUL V.        PRAIRIE STATE LEGAL SERVICES

20-6240     RICHARDS,    KYLE B. V. TASKILA, WARDEN

20-6245     DAVIS,    JOVON C.     V.    CHAPMAN, WARDEN

20-6250     BOX,    KYLE A.   V.   NEW YORK


20-6251     BYERS, TIMOTHY T. V.              UNITED STATES

20-6252     BOYLE,    DAVID V.     SHOOP,       WARDEN

20-6253     SEALED APPELLANT V.              SEALED APPELLEE

20-6254     LOPEZ,    ROBERTO Y. V.           UNITED STATES

20-6256     VALENTINE,    ELET V.        PNC FINANCIAL SERVICES,                ET AL.

20-6257     DAVIS,    FINNIS V.     LUMPKIN,          DIR., TX DC J

20-6258     CAMPBELL, ARTHUR L. V. GAUSE,                    CYNTHIA,      ET AL.

20-6261     DESJARDINS-RACINE ,          DAMIEN E. V.          UNITED STATES

20-6262     BROWN, DANIEL T. V. JOHNSON, ADM'R, NJ ,                         ET AL.

20-6263     ABDULRAZZAK,      HAIDER S. V.            FLUKE, WARDEN,          ET AL.

20-6264     ABDELSALAM, MOHAMMED A. V. ROSEN, ACTING ATT'Y GEN.



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20-6265     AGUILAR, ALFREDO V.           UNITED STATES

20-6266     SALAS,    MARIO V.    UNITED STATES

20-6268     ROBERTS,    BRYAN K. V. TEXAS

20-6269     GARDNER,    GILBERT M.        V.   MARYLAND

20-6271     BETTON,    CORDARRYL A. V.           UNITED STATES

20-6273     BARRETT,    3 EROME S.      V.     PARRIS,    WARDEN


20-6274     JUAREZ,    FERNANDO V.        UNITED STATES


20-6276     FRESSADI,    AREK R.     V.      ARIZONA,     ET AL.


20-6277     STUCKS,    PERCY A.    V.     FLORIDA


20-6281     RATLIFF,    KEVIN L.     V.      UNITED STATES

20-6282     THOMAS,    DARIUS T. V.          UNITED STATES

20-6285     WILLIAMS,    BRITTANY S. V.           UNITED STATES

20-6286     ARAGON,    RUBEN V.    WILLIAMS,           DIR.,   CO DOC,   ET AL.


20-6288     SNYDER,    ALLEN V. VANNOY, WARDEN

20-6290     SANCHEZ,    ORLANDO V.        UNITED STATES

20-6292     RICHEY,    ALONTE D. V.          UNITED STATES

20-6293     GRIFFIN,    RAYMOND A.        V.    UNITED STATES

20-6298     BUTLER,    CARLTON V.       UNITED STATES

20-6299     LEYVA-PERAZA,    BRAYAN J. V.              UNITED STATES

20-6301     WALL,    ALFORNIA J. V.          UNITED STATES

20-6304     AL-FAREKH,    MUHANAD V. UNITED STATES

20-6306     GILLIAM,    PHILLIP L. V.           UNITED STATES

20-6309     URENA-VILLA,    EMILIO V.           UNITED STATES


20-6311     DAVIS,    RUSSELL V.     UNITED STATES

20-6313     MERRITT,    KEVIN V.     UNITED STATES

20-6314     McCLURES,    JOVON A. V. UNITED STATES

20-6316     PUBIEN, MICKEY V.        UNITED STATES

20-6317     PETTY,    ROBERT V.    INDIANA



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20-6320     CARTER,     DIANNE M.       V.    PELLICANE,     THOMAS,     ET AL.

20-6324     LAIRD,     MICHAEL C.       V.    UNITED STATES


20-6326     BENNETT,     ADAM D.    V.       UNITED STATES

20-6327     CARROLL,     TERRY C.       V.    UNITED STATES

20-6328     MAYHALL,     CHRISTOPHER D. V.               UNITED STATES


20-6330     MACIAS ,    BENJAMIN V.          UNITED STATES

20-6332     SALYERS, CECIL V.           KENTUCKY

20-6335     SIKES,     DUANE A.    V.    UNITED STATES

20-6338     SMITH,     JAMES H.    V.    COOK,      WARDEN

20-6340     FARRACE,     ROBERT V.       UNITED STATES

20-6341     HARRIMAN ,    JASON V.       UNITED STATES

20-6342     GUTIERREZ,     PEDRO V.          UNITED STATES

20-6343     FERNANDES,     ASHLEY V.          MASSACHUSETTS

20-6346     MORRIS,     DEMARCUS D.          V.    UNITED STATES

20-6348     O'BRIEN,     WILLIAM J.          V.    UNITED STATES

20-6350     DOZIER,     ESAU V.    NEVEN,         WARDEN,    ET AL.


20-6360     WILKINS,     ROBERT H. V.             UNITED STATES

20-6362     AVALOS- RIVERA,       VICTOR M.         V.    UNITED STATES

20-6363     CABEZAS, ANDRES F. V.                 UNITED STATES

20-6364     DAVIS,     DONOVAN G. V.          USDC MD FL

20-6370     MERRITT,     DAVID V.       MAY,      WARDEN,    ET AL.

20-6372     ASHE, WILLIE E. V.           UNITED STATES

20-6375     NWEME,     MOLIKA A. V.          UNITED STATES

20-6376     HARSTINE,     SEAN J.       V.    UNITED STATES

20-6378     WHITE,     BRENDA L. V.          WISHARD HOSPITAL

20-6380     HESTER,     CHINA V.    UNITED STATES

20-6381     ANASTASIO,     DOMENICO V. UNITED STATES

20-6382     EPLION ,    RANDALL A. V.             UNITED STATES



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20-6389     MARTINEZ-RODRIGUEZ, TOMAS V.             UNITED STATES

20-6390     CABRERA,    RIGOBERTO V.        UNITED STATES


20-6392     GAKUBA,    PETER V.     UNITED STATES

20-6394     HAGAR,    MICHAEL A.     V.    UNITED STATES

20-6397     CORNEJO,    DOUGLAS V.        PFEIFFER, WARDEN

20-6402     TREANTOS,     ERIC V.    UNITED STATES

20-6403     MATTING LY,    CASEY V.       DUVAL COUNTY J AIL,     ET AL.

20-6405     CATO,    JOSHUA V.    UNITED STATES

20-6406     CUDDINGTON ,      JEFFREY N. V.     UNITED STATES

20-6408     FERNANDEZ-VARGAS,        JOSE H. V.      UNITED STATES

20-6412     ST.    HILAIRE,    ROBERT V.     UNITED STATES

20-6415     BURLEIGH,     LARRY A. V.       UNITED STATES

20-6418     HARRIS,    MICHAEL A.     V.    UNITED STATES


20-6420     ESPINOZA,     OSCAR U.    V.    UNITED STATES


20-6423     LEE,    BYRON V. AT&T SERVICES,           INC.,   ET AL.

20-6426     FARIAS -VALDOVINOS ,      JOSE V.       UNITED STATES


20-6434     MADERO-DIAZ,       JULIAN V.     UNITED STATES

20-6435     JONES,    CHRISTOPHER V.        UNITED STATES

20-6437     PENA, TOMMY V.       UNITED STATES

20-6438     MOLINA,    HECTOR D. V.        FOX, WARDEN

20-6439     PATTERSON,     SIDNEY V.       UNITED STATES

20-6440     TOSCANO,    BENJAMIN K. V. ADAM, NANCY,             ET AL.

20-6442     MOORE,    JONAIR T. V.        UNITED STATES

20-6446     COTTO-FLORES, YAIRA T. V.           UNITED STATES

20-6449     BROWN, ANTHONY D. V.           UNITED STATES

20-6450     YERKES,    LEE V.    UNITED STATES

20-6451     WHITE, GENESIS J. V. UNITED STATES

20-6455     WADE,    PATRICIA A. V. TRUSTEES OF IN UNIV.,                ET AL.



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20-6461     MORRIS,    JUAN V.    UNITED STATES

20-6463     MURILLO, ALEX V.       UNITED STATES

20-6464     MORENO-RODRIGUEZ,       BENITO V.       UNITED STATES

20-6465     TILLERY,       DAMONTAZE M. V.    UNITED STATES

20-6467     HOWARD,    CRAIG V.    UNITED STATES

20-6470     WILSON,    FREDERICK D. V.       UNITED STATES

20-6482     MOFFITE,       DERRICK V.    MISSISSIPPI

20-6485     COLLINS,       QINARD L. V.    INCH,    SEC.,    FL DOC,   ET AL.

20-6508     HARRIS,    JESSE V.    UNITED STATES

20-6523     BROOKS,    JASON L. V.       JORDAN,    WARDEN

20-6581     HANZLIK,       KIMBERLY V.    JOSEPH,    SUPT. ,   BEDFORD HILLS

                 The petitions for writs of certiorari                 are denied.

19-1389     TEXAS DEMOCRATIC PARTY,          ET AL. V. ABBOTT,         GOV. OF TX,   ET AL.

                 The petition for a writ of certiorari                 before judgment is

            denied.

20-136      DOZIER,    TREMAYNE T. V.       UNITED STATES

                 The petition for a writ of certiorari is denied.                    Justice

            Barrett took no part in the consideration or decision of this

            peti ti on .

20-276      GIBSON,    CHRISTOPHER M. V.       SEC,    ET AL.

                 The motion of Pacific Legal Foundation for leave to file a

            brief as amicus curiae is granted.                 The petition for a writ of

            certiorari       is denied.

20-405      MIAMI GARDENS,       FL V. WELLS FARGO & CO. ,         ET AL.

                 The motion of International Municipal Lawyers Association

            for leave to file a brief as amicus curiae is granted.                     The


            petition for a writ of certiorari is denied.




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20-427      POLK COUNTY,         WI V.    J.    K.    J.,      ET AL.


20-510      IQVIA INC.      V.    FLORENCE MUSSAT,               M.D.,    S.C.

                 The petitions for writs of certiorari are denied.                                  Justice

            Barrett took no part in the consideration or decision of these

            petitions.

20-519      STATE BAR OF CA,          ET AL.         V.    ALBERT-SHERIDAN,        LENORE L.

                 The motion of respondent for leave to proceed in forma

            pauperis is granted.               The petition for a writ of certiorari                     is

            denied.

20-523      0TW0RTH,       CLARENCE M. V.            PNC BANK

                 The petition for a writ of certiorari                           is denied.     Justice

            Alito took no part in the consideration or decision of this

            petition.

20-527      GUSKIEWICZ,       KEVIN,      ET AL.          V.   DTH MEDIA CORP.,       ET AL.

                 The motion of Victim Advocacy Groups for leave to file a

            brief as amici curiae is granted.                           The petition for a writ of

            certiorari       is denied.

20-553      PA VOTERS ALLIANCE,               ET AL. V.         CENTRE COUNTY,       PA,   ET AL.

                 The petition for a writ of certiorari before judgment is

            denied.

20-589      Mcdonald,       reed k.      v.    eagle county, co,            et al.

                 The petition for a writ of certiorari is denied.                               Justice

            Gorsuch took no part in the consideration or decision of this

            peti ti on .

20-707      JOHNSON,       DUANE J. V. WILSON, WARDEN

                 The petition for a writ of certiorari is denied.                               Justice

            Kagan took no part in the consideration or decision of this

            peti ti on .



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20-712      BURLAKA,    LEONID,    ET AL.        V.    CONTRACT TRANSPORT SERVICES,         LLC


                The petition for a writ of certiorari                      is denied.     Justice

            Barrett took no part in the consideration or decision of this

            petition.

20-714      SACCOCCIA,    STEPHEN A.        V.    UNITED STATES,        ET AL.


20-722      WILLIAMSON,    RODNEY A.        V.    UNITED STATES


                The petitions for writs of certiorari                      are denied.     Justice

            Kagan took no part in the consideration or decision of these

            petitions.

20-737      B/E AEROSPACE,      INC.   V.    C&D ZODIAC,         INC.

                The petition for a writ of certiorari                      is denied.     Justice

            Breyer and Justice Alito took no part in the consideration or

            decision of this petition.

20-767      O'BRIEN,    JESSICA A.     V.    UNITED STATES

                The petition for a writ of certiorari                      is denied.     Justice

            Barrett took no part in the consideration or decision of this

            petition.

20-6031     TALLEY,    DURWYN V.    USDC SD IL


20-6056     JONES,    MATTHEW V.    CAPIRO,           JOSE

                The motions of petitioners for leave to proceed in forma

            pauperis are denied, and the petitions for writs of certiorari

            are dismissed.        See Rule 39.8.

20-6078     VREELAND,    DELMART V.     ZUPAN, WARDEN,            ET AL.

                The petition for a writ of certiorari is denied.                          Justice

            Gorsuch took no part in the consideration or decision of this

            petition.

20-6114     TONG,    SHONG-CHING V.     SUPERIOR COURT OF CA,               ET AL.

20-6128     LIVIZ,    ILYA V.   SUPREME COURT OF MA



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20-6145     KELLY,    ANTHONY Q.    V.    BISHOP,    WARDEN,     ET AL.


20-6171     BAPTISTE ,   KENNETH E. V.       KOENIG , WARDEN

                 The motions of petitioners for leave to proceed in forma

            pauperis are denied,          and the petitions for writs of certiorari

            are dismissed.     See Rule 39.8.

20-6183     HATTON,    TIMOTHY N.    V.    SEVIER,    SUPT. ,    NEW CASTLE


                 The petition for a writ of certiorari                   is denied.      Justice

            Barrett took no part in the consideration or decision of this

            petition.

20-6217     RANGEL,    ADRIAN V.    MEYER,    STEVEN P.,        ET AL.

                 The motion of petitioner for leave to proceed in forma

            pauperis is denied, and the petition for a writ of certiorari                          is

            dismissed.     See Rule 39.8.

20-6345     DeCARLO, THOMAS R. V.          UNITED STATES

                 The motion of petitioner for leave to proceed in forma

            pauperis is denied, and the petition for a writ of certiorari                          is

            dismissed.     See Rule 39.8.           As the petitioner has repeatedly

            abused this Court's process,             the Clerk is directed not to accept

            any further petitions in noncriminal matters from petitioner

            unless the docketing fee required by Rule 38(a) is paid and the

            petition is submitted in compliance with Rule 33.1.                         See Martin

            v.   District of Columbia Court of Appeals,                  506 U.   S.   1 (1992)

            (per curiam).


20-6365     CROSBY,    GREGORY D. V. TRUE, WARDEN

                 The motion of petitioner for leave to proceed in forma

            pauperis is denied, and the petition for a writ of certiorari is

            dismissed.     See Rule 39.8.           Justice Gorsuch took no part in the

            consideration or decision of this motion and this petition.



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20-6366     RILEY,    JAMES W.   V.   DELAWARE


                 The motion of petitioner for leave to proceed in forma

            pauperis is denied,        and the petition for a writ of certiorari              is

            dismissed.     See Rule 39.8.          As the petitioner has repeatedly

            abused this Court's process,             the Clerk is directed not to accept

            any further petitions in noncriminal               matters from petitioner

            unless the docketing fee required by Rule 38(a) is paid and the

            petition is submitted in compliance with Rule 33.1.                    See Martin

            v.   District of Columbia Court of Appeals ,            506 U.   S.   1 (1992)

            Cper curiam).        Justice Alito took no part in the consideration

            or decision of this motion and this petition.

20-6377     MARTIN,   ANTHONY C.      V.   FOWLER,    LARRY,   ET AL.


                 The petition for a writ of certiorari              is denied.      Justice

            Barrett took no part in the consideration or decision of this

            petition .

                                 HABEAS CORPUS DENIED

20-6421     IN RE TIMOTHY J.       RICHARDS

20-6587     IN RE MARIE J. TANAMOR-STEFFAN

20-6616     IN RE THERESA R0MAIN


20-6634     IN RE KAREN D.       CHADES

                 The petitions for writs of habeas corpus are denied.

20-6536     IN RE VINODH RAGHUBIR

                 The motion of petitioner for leave to proceed in forma

            pauperis is denied, and the petition for a writ of habeas corpus

            is dismissed.        See Rule 39.8.        As the petitioner has repeatedly

            abused this Court's process, the Clerk is directed not to accept

            any further petitions in noncriminal matters from petitioner

            unless the docketing fee required by Rule 38(a) is paid and the



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            petition is submitted in compliance with Rule 33.1.                       See Martin


            v.    District of Columbia Court of Appeals,             506 U.    S.   1 (1992)


            (per curiam).

                                     MANDAMUS DENIED


20-626      IN RE ROBERT A.       HECHMANN


20-726      IN RE STEPHANIE MICHAEL


20-760      IN RE LIBBY A.       DEMERY


20-6270     IN RE DERRICK HOWELL

                  The petitions for writs of mandamus are denied.

20-6119     IN RE NIRA WOODS


                  The petition for a writ of mandamus and/or prohibition is

            denied.

20-6287     IN RE ANTONIO AKEL


                  The motion of petitioner for leave to proceed in forma

            pauperis is denied,          and the petition for a writ of mandamus is

            dismissed.        See Rule 39.8.        Justice Kagan took no part in the

            consideration or decision of this motion and this petition.

                                   PROHIBITION DENIED


20-6164     IN RE THERESA S.       ROMAIN

                  The petition for a writ of prohibition is denied.

                                    REHEARINGS DENIED

19-1277     THORPE,    DAVID V.    DUMAS,    DEXTER,    ET AL.

19-1342     MULCAHY,    EDWARD V. ASPEN PITKIN CO.             HOUSING AUTH.

19-1419     HENRY-BEY,       MICHAEL A. V. CASTRO,        HECTOR,   ET AL.

19-5267     ST.    HUBERT,    MICHAEL V.    UNITED STATES

19-6594     INGRAHAM,    DAVID V.     FLORIDA

19-8446     TWITTY, ANTHONY S. V.          SMITH,    SUPT. ,   H0UTZDALE,    ET AL.

19-8458     ALLEN,    DERRICK M.    V.    JORDAN,    PHILLIP,    ET AL.



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19-8648     McNEAL, VERNON W.          V.   FLEMING, C/O,       ET AL.

19-8684     HILL,    BRIAN D.    V.    USDC MD NC


19-8690     WHEELER,      JIMMY L.     V.   INCH,    SEC.,    FL DOC

19-8701     RAYMOND,      ROGER A.     V.   USDC SD

19-8716     PEPKE,    ERIC M.    V.    UNITED STATES


19-8724     GARRY,    MICHAEL V.       TRANE CO.

19-8728     HARRELL,      JOSHUA V.     CALIFORNIA

19-8769     SHUMAKE,      DARYLL V. VIRGINIA

19-8793     R.   W. V.   DAUPHIN CTY.        SOCIAL SERV.

19-8801     JONES, TICHINIA,          ET AL. V.      LAMAR CO.,    LLC

19-8834     DUTTA-ROY, MONOSIJ V.            JYSK BED'N LINEN

20-13       LAVERGNE,      BRANDON S. V.       CAIN, WARDEN        ET AL.


20-112      HERNANDEZ,      SHERRY V.       PNMAC MORTGAGE INVESTORS,        ET AL.

20-187      CHUKWUANI ,     OKWUDILI F. V.          SOLON CITY SCHOOL DISTRICT

20-242      CAVE,    NORINE S.    V.    DELTA DENTAL,         ET AL.

20-247      BELANUS,      DUANE R. V.       DUTTON,    LEO,    ET AL.

20-248      ROUNDS,      IRVING F. V.       KOCH,    CHARLES,    ET AL.

20-329      SOWELL,      JULIE M.,     ET AL. V. TINLEY,         RENEHAN & DOST,     ET AL.

20-344      MYERS,    JON V.    MYERS,      SONDRA,    ET AL.

20-348      MERCER,      GREGORY S. V. VEGA,          E. A.

20-364      WILKINS, THOMAS V. USDC ED CA

20-484      WOODS,    PATRICIA L. V. STORMS, ROBERT,               ET AL.

20-5020     ALLEN, DERRICK M. V. TRI-LIFT NORTH CAROLINA,                   ET AL.

20-5025     AMOS,    EDDIE M. V.       BOWEN, TOMMY

20-5043     RIZK,    JIPING V. DEFENSE FINANCE AND ACCOUNTING

20-5048     BOWMAN,      JOSH L. V.     BOYD, WARDEN

20-5084     ELLIS,    PRISCILLA A. V. UNITED STATES

20-5188     BARNES, ADELSO V. DOWLING, WARDEN



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20-5211     DOBSON     MICHAEL A. V.          STOLLE,       COLIN D.,   ET AL.

20-5236     IN RE RUSSELL ROPE


20-5247     BURNSIDE,    AVERN L. V.          REWERTS,       WARDEN

20-5289     SANDERSON,    JUSTIN W,          V.    FOLEY,    WARDEN


20-5291     JOHNSON,    DEXTER L.       V.    MARLAR,       JOHN


20-5329     SCYPHERS,    DOUGLAS D. V. WASHINGTON

20-5509     PUGH,    CHRISTOPHER L.          V.   DELOACH, WARDEN


20-5518     VANCE,    LEWIS J.    V.    BUCHANAN, WARDEN

20-5519     WANKE,    RICHARD V.       ILLINOIS


20-5525     BAILEY,    LARRY R.    V.       UNITED STATES,         ET AL.


20-5541     SACHS,    BETSY V.    BANK OF AMERICA,             N.A.

20-5567     AMES,    LINDA V.    HSBC BANK USA

20-5572     WITKIN,    MICHAEL A. V.          LOTERSZTAIN,         MARIANA,   ET AL.

20-5623     STEFANYUK,    MAKSIM V.          UNITED STATES

20-5693     IN RE TERRON G.       DIZZLEY


20-5731     IN RE BRENT L.       ALFORD


20-5750     STAPLES,    CHESTER A. V.             LUMPKIN,    DIR., TX DCJ

20-5765     BORDEN,    DANIEL F.       V.    SWARTHOUT, WARDEN

                The petitions for rehearing are denied.

19-8630     LUSSY,    RICHARD C. V.          LUSSY,     HENRY,     ET AL.


20-5028     LUSSY,    RICHARD C. V.          DAHOOD, WADE J.

20-5029     LUSSY,    RICHARD C. V.          LUSSY,     HENRY P.

                The petitions for rehearing are denied.                        The Chief Justice

            took no part in the consideration or decision of these

            petitions.

19-1343     IN RE EDWARD STARLING

                The motion for leave to file a petition for rehearing is

            denied.     Justice Kavanaugh took no part in the consideration or


                                                   23
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            decision of this motion.

19-1470     GURROLA, SAMUEL A. V. WALGREEN CO.

                The motion for leave to file a petition for rehearing is

            denied.




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                              Statement of THOMAS, J.


          SUPREME COURT OF THE UNITED STATES
              NIKKI BRUNI, ET AL. u. CITY OF PITTSBURGH,
                           PENNSYLVANIA, ET AL.

             ON PETITION FOR WRIT OF CERTIORARI TO THE UNITED
              STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                       No. 19-1184.   Decided January 11, 2021


            The petition for a writ of certiorari is denied.
            Statement of JUSTICE THOMAS respecting the denial of
          certiorari.
           The city of Pittsburgh, like many jurisdictions, has cre
         ated "buffer zones" around abortion clinics. These zones of
         ten impose serious limits on free speech. Many even pro
         hibit certain one-on-one conversations. In 2000, we upheld
         one such law, determining that it survived under the First
         Amendment because it satisfied intermediate scrutiny.
         Hill v. Colorado, 530 U. S. 703 (2000). Our use of interme
         diate scrutiny there, however, "is incompatible with current
         First Amendment doctrine as explained in Reed [v. Town of
         Gilbert, 576 U. S. 155 (2015)] and McCullen [v. Coakley, 573
         U. S. 464 (2014)]." Price v. Chicago, 915 F. 3d 1107, 1117
          (CA7 2019). For example, these more recent decisions es
          tablish that strict scrutiny is the proper standard of review
          when a law targets a "specific subject matter . . . even if it
          does not discriminate among viewpoints within that subject
          matter." Reed, 576 U. S., at 169.
            I agree with the Court's decision not to take up this case
          because it involves unclear, preliminary questions about
          the proper interpretation of state law. But the Court should
          take up this issue in an appropriate case to resolve the glar
          ing tension in our precedents.
